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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL
RIG “DEEPWATER HORIZON”
IN THE GULF OF MEXICO

| MDL No.: 2:10-md-2179
|
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ON APRIL 20, 2010 |
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SECTION “J”
JUDGE BARBIER

Relates to: 2:12-cv-0381
MAGISTRATE JUDGE SHUSHAN

ORDER
This matter having come before the Court on Plaintiffs’ Motion to Remand and the Court
having been fully advised;
IT IS ORDERED that Plaintiffs’ Motion to Remand is hereby GRANTED, and this
action is hereby remanded to the 32™ Judicial District Court, Terrebonne Parish, Louisiana.

This day of 2012.

MAGISTRATE JUDGE
